Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 1 of 10



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 PATRICIA KENNEDY, Individually,          :
                                          :
               Plaintiff,                 :
                                          :
 v.                                       :             Case No.
                                          :
 PORT PARADISE HOTEL, LLC d/b/a THE       :
 PORT HOTEL AND MARINA, a Florida Limited :
 Liability Company,                       :
                                          :
               Defendant.                 :
 _______________________________________/ :
                                          :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues Defendant, PORT

 PARADISE HOTEL, LLC d/b/a THE PORT HOTEL AND MARINA, a Florida Limited Liability

 Company, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

 litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

 et seq. (“ADA”).

 1.                    Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies

                as an individual with disabilities as defined by the ADA. Plaintiff is unable to

                engage in the major life activity of walking more than a few steps without assistive

                devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or

                other support and has limited use of her hands. She is unable to tightly grasp, pinch

                and twist of the wrist to operate. When ambulating beyond the comfort of her own

                home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 2 of 10



             handicap parking spaces located closet to the entrances of a facility. The handicap

             and access aisles must be of sufficient width so that she can embark and disembark

             from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

             goods and services of a facility must be level, properly sloped, sufficiently wide and

             without cracks, holes or other hazards that can pose a danger of tipping, catching

             wheels or falling. These areas must be free of obstructions or unsecured carpeting

             that make passage either more difficult or impossible. Amenities must be sufficiently

             lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

             sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

             or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

             danger of scraping or burning her legs. Sinks must be at the proper height so that she

             can put her legs underneath to wash her hands. She requires grab bars both behind

             and beside a commode so that she can safely transfer and she has difficulty reaching

             the flush control if it is on the wrong side. She has difficulty getting through

             doorways if they lack the proper clearance.

 2.                  Plaintiff is an advocate of the rights of similarly situated disabled persons and

             is a "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

             determining whether places of public accommodation and their websites are in

             compliance with the ADA.

 3.                  According to the county property records, Defendant owns a place of public

             accommodation as defined by the ADA and the regulations implementing the ADA,

             28 CFR 36.201(a) and 36.104. The place of public accommodation that Defendant


                                                2
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 3 of 10



             owns is a place of lodging known as THE PORT HOTEL AND MARINA, 1610

             Southeast Paradise Circle, Crystal River, FL 34429, and is located in the County of

             CITRUS, Florida (hereinafter "Property").

 4.                  Venue is properly located in the SOUTHERN DISTRICT OF FLORIDA

             because the injury occurred in this district.

 5.                  Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

             original jurisdiction over actions which arise from Defendant’s violations of Title III

             of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C.

             § 2201 and § 2202.

 6.                  As the owner of the subject place of lodging, Defendant is required to comply

             with the ADA. As such, Defendant is required to ensure that it's place of lodging is

             in compliance with the standards applicable to places of public accommodation, as

             set forth in the regulations promulgated by the Department Of Justice. Said

             regulations are set forth in the Code Of Federal Regulations, the Americans With

             Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA

             Standards, incorporated by reference into the ADA. These regulations impose

             requirements pertaining to places of public accommodation, including places of

             lodging, to ensure that they are accessible to disabled individuals.

 7.                  More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to reservations
             made by any means, including by telephone, in-person, or through a third party -


                                                3
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 4 of 10



                    (I) Modify its policies, practices, or procedures to ensure that individuals with
                    disabilities can make reservations for accessible guest rooms during the same
                    hours and in the same manner as individuals who do not need accessible
                    rooms;
                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably permit
                    individuals with disabilities to assess independently whether a given hotel or
                    guest room meets his or her accessibility needs;
                    (iii) Ensure that accessible guest rooms are held for use by individuals with
                    disabilities until all other guest rooms of that type have been rented and the
                    accessible room requested is the only remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific types of guest
                    rooms and ensure that the guest rooms requested are blocked and removed
                    from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through its
                    reservations service is held for the reserving customer, regardless of whether
                    a specific room is held in response to reservations made by others.

 8.                 These regulations became effective March 15, 2012.

 9.                 Defendant, either itself or by and through a third party, implemented,

             operates, controls and or maintains a website for the Property which contains an

             online reservations system. This website is located at https://porthotelandmarina.com.

             Defendant also utilizes third party online reservations systems, including

             booking.com, hotels.com, kayak.com, orbitz.com and expedia.com. Defendant's

             online reservations system is hereinafter referred to as "website" or "websites". The

             purpose of this website is so that members of the public may reserve guest

             accommodations and review information pertaining to the goods, services, features,

             facilities, benefits, advantages, and accommodations of the Property. As such, this

             website is subject to the requirements of 28 C.F.R. Section 36.302(e).

 10.                Prior to the commencement of this lawsuit, Plaintiff visited the website on

             July 26, 2018, March 21, 2019, March 22, 2019 and March 23, 2019, March 29,


                                               4
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 5 of 10



             2019, July 19, 2019, July 20, 2019, July 24, 2019, July 25, 2019 and August 2, 2019

             for the purpose of reviewing and assessing the accessible features at the Property and

             ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

             accessibility needs. However, Plaintiff was unable to do so because Defendant failed

             to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

             Plaintiff was deprived the same goods, services, features, facilities, benefits,

             advantages, and accommodations of the Property available to the general public.

             Specifically, the website indicates that the hotel offers various kinds of sleeping

             accommodations, but no information as to whether any of the rooms are accessible.

             There was no option to book an accessible room. No information was given as to

             whether or where it offers compliant/accessible roll-in showers, tubs, built in seating,

             commodes, grab bars, sinks, wrapped pipes, sink and door hardware, properly located

             amenities, sufficient maneuvering spaces, compliant doors, furniture, controls and

             operating mechanisms. The website does not contain any information as to whether

             ALL goods, facilities and services at the property are connected by a compliant

             accessible route, nor does the website contain any information as to the accessibility

             of routes connecting all the features of the hotel, the parking, and common area

             restrooms. The website does not give any information as to whether accessible rooms

             are on the ground floor or if an elevator is provided within an accessible route. The

             Website and third party booking sites state that the hotel has an outdoor swimming

             pool, vending machines, free public parking, laundry facilities, business center, gift

             shop/news stand; however, there is no information as to whether any or all of these


                                                5
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 6 of 10



             hotel features are accessible. Booking.com had no option to book an accessible room;

             hotel amenities, room types and amenities are all listed in detail; no information was

             given about accessibility in the hotel other than the statements "accessible bathroom"

             and "in-room accessibility". Expedia.com had no option to book an accessible room;

             hotel amenities, room types and amenities are all listed in detail; no information was

             given about accessibility in the hotel. Hotels.com had no option to book an accessible

             room; hotel amenities, room types and amenities are all listed in detail; no

             information was given about accessibility in the hotel. Kayak.com had no option to

             book an accessible room; hotel amenities, room types and amenities are all listed in

             detail; no information was given about accessibility in the hotel. Orbitz.com had no

             option to book an accessible room; hotel amenities, room types and amenities are all

             listed in detail; no information was given about accessibility in the hotel.

 11.                In the near future, Plaintiff intends to revisit Defendant's website and/or

             online reservations system in order to test it for compliance with 28 C.F.R. Section

             36.302(e) and/or to utilize the website to reserve a guest room and otherwise avail

             herself of the goods, services, features, facilities, benefits, advantages, and

             accommodations of the Property.

 12.                Plaintiff is continuously aware that the subject website remains non-

             compliant and that it would be a futile gesture to revisit the website as long as those

             violations exist unless she is willing to suffer additional discrimination.

 13.                The violations present at Defendant's website infringe Plaintiff's right to travel

             free of discrimination and deprive her of the information required to make


                                               6
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 7 of 10



             meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

             frustration and humiliation as the result of the discriminatory conditions present at

             Defendant's website. By continuing to operate a website with discriminatory

             conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

             deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

             privileges and/or accommodations available to the general public. By encountering

             the discriminatory conditions at Defendant's website, and knowing that it would be

             a futile gesture to return to the website unless she is willing to endure additional

             discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

             services and benefits readily available to the general public. By maintaining a

             website with violations, Defendant deprives Plaintiff the equality of opportunity

             offered to the general public.

 14.                Plaintiff has suffered and will continue to suffer direct and indirect injury as

             a result of Defendant’s discrimination until Defendant is compelled to modify its

             website to comply with the requirements of the ADA and to continually monitor and

             ensure that the subject website remains in compliance.

 15.                Plaintiff has a realistic, credible, existing and continuing threat of

             discrimination from Defendant’s non-compliance with the ADA with respect to this

             website. Plaintiff has reasonable grounds to believe that she will continue to be

             subjected to discrimination in violation of the ADA by Defendant.




                                               7
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 8 of 10



 16.                 Defendant has discriminated against Plaintiff by denying her access to, and

             full and equal enjoyment of, the goods, services, facilities, privileges, advantages

             and/or accommodations of the subject website.

 17.                 Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the ADA

             as requested herein.

 18.                 Defendant has discriminated against Plaintiff by denying her access to full

             and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore,

             Defendant continues to discriminate against Plaintiff, and all those similarly situated

             by failing to make reasonable modifications in policies, practices or procedures,

             when such modifications are necessary to afford all offered goods, services, facilities,

             privileges, advantages or accommodations to individuals with disabilities; and by

             failing to take such efforts that may be necessary to ensure that no individual with a

             disability is excluded, denied services, segregated or otherwise treated differently

             than other individuals because of the absence of auxiliary aids and services.

 19.                 Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and

             28 CFR 36.505.




                                                8
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 9 of 10



 20.                  Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

              Plaintiff Injunctive Relief, including an order to require Defendant to alter the subject

              website to make it readily accessible and useable to Plaintiff and all other persons

              with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or by

              closing the website until such time as Defendant cures its violations of the ADA.

 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.     Injunctive relief against Defendant including an order to revise its website to comply

              with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain

              the website to ensure that it remains in compliance with said requirement.

       c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

       d.     Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

              Respectfully Submitted,

                                              By: /s/ Kimberly A. Corkill, Esq.

                                              Kimberly A. Corkill, Of Counsel
                                              Thomas B. Bacon, P.A.
                                              7 N. Coyle Street
                                              Pensacola, FL 32502
                                              ph. 850-375-3475
                                              fx 877-828-4446
                                              kimberlyatlaw@gmail.com


                                                 9
Case 0:19-cv-61993-UU Document 1 Entered on FLSD Docket 08/08/2019 Page 10 of 10



                                     Florida Bar Id. No. 84942

                                     Thomas B. Bacon, Esq.
                                     Thomas B. Bacon, P.A.
                                     644 North Mc Donald St.
                                     Mt. Dora, FL 32757
                                     ph. (850)375-3475
                                     kimberlyatlaw@gmail.com
                                     Florida Bar. Id. No. 84942
